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lN THE UNITED sTATEs DISTRlcT COURT
FoR THE WESTERN DISTRICT oF TENNEssEm\.ED ev ___.,“..._. D-Ot
WESTERN DIvIsIoN
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UNITED sTATES oF AM C wm U.S= WRU COURT

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V’ Cr.No.05-20030-M1 Wt@~~i --~@-’l-DH¥S

TIMOTHY FOR_REST
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT
The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while
attempting to obtain private counsel.
rr ls THEREFORE oRDERED that the time period of CB’/?§!/OS through
QE[ IQ~I lo§ be excluded from the time limits imposed by the Speedy Trial Act for trial

of this case, While the defendant is attempting to obtain private counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY, 13 IQ| 1115 at 9:30 a.m.

BEFORE MAGISTRATE JUI)GE \}ESC.DVO .

$.’"/'h”`@,_,m ;Q___.

UNITED STATES MAGISTRATE JUDGE

DATE: OXbl{/OS

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRCtP oh 3 § Z’Of)

ISTRICT COURT - WESERT DISTRICT TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

Memphis, TN 38103

Honorable J on McCalla
US DISTRICT COURT

